
PER CURIAM.
*61We initially accepted jurisdiction to review the decision of the Third District Court of Appeal in Noa v. Florida Insurance Guaranty Ass'n , 215 So.3d 141 (Fla. 3d DCA 2017), based on express and direct conflict. See art. V, § 3(b)(3), Fla. Const. After further consideration, we conclude that jurisdiction was improvidently granted. Accordingly, we hereby discharge jurisdiction and dismiss this review proceeding.
It is so ordered.
CANADY, C.J., and PARIENTE, QUINCE, POLSTON, LABARGA, and LAWSON, JJ., concur.
LEWIS, J., dissents.
